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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     J. DOE 1, et al.,                                 Case No. 22-cv-06823-JST
                                                        Plaintiffs,
                                   8
                                                                                           ORDER REGARDING MOTION FOR
                                                  v.                                       RECONSIDERATION
                                   9

                                  10     GITHUB, INC., et al.,                             Re: ECF No. 218
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Plaintiffs have filed a motion for leave to file motion for reconsideration of the Court’s

                                  14   prior motion to dismiss order. ECF No. 218. So that the Court can fully consider the motion, the

                                  15   Court hereby orders Defendants to file an opposition to the motion by March 15, 2024.

                                  16          The motion will be taken under submission without oral argument unless otherwise

                                  17   ordered.

                                  18          IT IS SO ORDERED.

                                  19   Dated: March 4, 2024
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                                                                                                     JON S. TIGAR
                                  21                                                           United States District Judge

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